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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

CLARENCE D. JOHNSON,                  )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )   CASE NO. 2:21-CV-31-RAH-KFP
                                      )
MAURICE FOLEY, et al.,                )
                                      )
      Defendants.                     )

CLARENCE D. JOHNSON,                  )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )   CASE NO. 2:21-CV-73-RAH-KFP
                                      )
FRANCIS PAUL, et al.,                 )
                                      )
      Defendants.                     )

CLARENCE D. JOHNSON,                  )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )   CASE NO. 2:21-CV-269-RAH-KFP
                                      )
JOE BIDEN, et al.,                    )
                                      )
      Defendants.                     )

CLARENCE D. JOHNSON,                  )
                                      )
      Plaintiff,                      )
                                      )
v.                                    )   CASE NO. 2:21-CV-270-RAH-KFP
                                      )
BARACK OBAMA, et al.,                 )
                                      )
      Defendants.                     )
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                                       ORDER

       On April 27, 2021, the Magistrate Judge entered a Recommendation (Doc. 16) to

which no timely objections have been filed. After an independent review of the file and

upon consideration of the Recommendation, it is ORDERED as follows:

      1. The Recommendation of the Magistrate Judge is ADOPTED;

      2. The Motion for Preliminary Injunction (Doc. 8, No. 21-CV-31-RAH) is

          DENIED;

      3. This case is DISMISSED prior to service of process pursuant to 28 U.S.C. §

1915(e)(2)(B)(i); and

      4. No costs are taxed.

      A separate Final Judgment will be entered.

      DONE, this 7th day of June, 2021.


                                        /s/ R. Austin Huffaker, Jr.
                                 R. AUSTIN HUFFAKER, JR.
                                 UNITED STATES DISTRICT JUDGE
